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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA




                                                    No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL LEAGUE
PLAYERS' CONCUSSION INJURY                          MDLNo. 2323
LITIGATION

THIS DOCUMENT RELATES TO:

Easterling v. Nat 7 Football League,
No. ll-cv-05209
Maxwell v. Nat 7 Football League,
No. 12-cv-1023;
Barnes v. Nat 7 Football League,
No. 12-cv-1024;
Pear v. Nat 7 Football League,
No. 12-cv-1025.



                                 NOTICE OF WITHDRAWAL

                 PLEASE TAKE NOTICE that the appearance of Neil Robert Lieberman on

 behalf of Defendants National Football League and NFL Properties LLC is hereby

 WITHDRAWN and you are respectfully requested to remove the undersigned from all service

 and notice lists.

                 PLEASE TAKE FURTHER NOTICE that Defendants National Football League

  and NFL Properties LLC will continue to be represented by the law firm of Paul, Weiss, Rifkind,

  Wharton & Garrison LLP.
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Dated: June?, 2013
       New York, New York
                                  Respectfully submitted,

                                  PAUL, WEISS, RIFKIND,
                                   WHARTON & GARRISON LLP

                                  By:    /s/ Neil R. Lieberman
                                         Neil R. Lieberman

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                                  Attorney for the National Football League and NFL
                                  Properties LLC
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                               CERTIFICATE OF SERVICE

              I hereby certify that on this 21st day of December, 2012, a true and correct copy

of the foregoing Notice of Withdrawal was filed electronically and served upon counsel of record

via the Court's CM/ECF system.



                                            I si Neil R. Lieberman
                                            Neil R. Lieberman
